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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


RANDY CHRISTMAS,

                               Defendant,

v.                                                       CRIMINAL ACTION NO. 2:95-cr-00198-4


UNITED STATES OF AMERICA,

                               Plaintiff.


                            MEMORANDUM OPINION & ORDER

       Pending before the court is the defendant’s Motion to Make Additional Findings/Motion to

Alter or Amend Pursuant to Fed. R. Civ. Proc. 52(b) and 59(e) [Docket 637]. This motion is

DENIED.

       The defendant, arguing that this court improperly recharacterized his April 19, 2010

purported Rule 60(d)(1) motion as a successive 28 U.S.C. § 2255 motion without notice, cites

Castro v. United States, 540 U.S. 375 (2003). Castro held that a court cannot “recharacterize a pro

se litigant’s motion as the litigant’s first § 2255 motion unless the court informs the litigant of its

intent to recharacterize,” warns the litigant of the consequences, and “provides the litigant with an

opportunity to withdraw, or to amend, the filing.” Id. at 377 (first emphasis added). These

procedures are necessary because such recharacterization “will subject subsequent § 2255 motions

to the law’s ‘second or successive’ restrictions.” Id.

       The defendant has already filed three § 2255 motions [Docket 319, 341, and 495]. This

court’s characterization of his April 19, 2010 motion as a § 2255 motion does not expose subsequent
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motions to any restrictions that they were not already subject to. Castro did not otherwise limit

courts’ ability to recharacterize a pro se litigant’s motions. See Castro, 540 U.S. at 382 (“We here

address one aspect of this practice, . . . .”). The defendant has failed to persuade the court that its

recharacterization was unwarranted. Accordingly, the motion is DENIED.

       The court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                               ENTER:          May 18, 2010




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